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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA,


        v.                                          Case No. 18-CR-170 (KBJ)


JAMES A. WOLFE




      SUPPLEMENT TO DEFENDANT’S MOTION FOR ORDER GOVERNING
     EXTRAJUDICIAL STATEMENTS UNDER LOCAL CRIMINAL RULE 57.7(c)

       Pursuant to Local Criminal Rule 47(f), Defendant James A. Wolfe, through counsel,

respectfully requests a hearing regarding his Motion for an Order Governing Extrajudicial

Statements under Local Criminal Rule 57.7(c) (Dkt. 20).1

Dated: June 25, 2018

                                                   Respectfully submitted,

                                                   ______/s/___________________

                                            By:    Benjamin Klubes (D.C. Bar No. 428852)
                                                   Preston Burton (D.C. Bar No. 426378)
                                                   Lauren R. Randell (D.C. Bar No. 503129)
                                                   Buckley Sandler LLP
                                                   1250 24th St. NW Ste. 700
                                                   Washington, D.C. 20037
                                                   (202) 349-8000

                                                   Counsel for Defendant James A. Wolfe

1
 Counsel for Mr. Wolfe advised counsel for the government about the filing of this Supplement;
they did not object to the filing of this Supplement.
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                                 CERTIFICATE OF SERVICE

       I certify that on June 25, 2018, I electronically filed the foregoing Supplement to

Defendant’s Motion for Order Governing Extrajudicial Statements Under Local Criminal

Rule 57.7(c) using the CM/ECF system, which will send notification of such filing to the

counsel of record in this matter who are registered on the CM/ECF.


                                     /s/
                                     Lauren R. Randell (D.C. Bar No. 503129)
